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   7-1 LIMS (Rev. 10-2-17)
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                                                                                              2501 Investigation Parkway
                                  FBI Laboratory                                                Quantico, Virginia 22135

                                                                                                       4940 Fowler Road
                                                                                              Huntsville, Alabama 35898
                                                         LABORATORY REPORT

                To:     Christopher Franck                          Date: February 3, 2022
                        Special Agent
                        Tampa                                       Case ID No.: TP-3439052

                                                                    Lab No.: 2021-02111-15
                Communication(s):       December 16, 2021
                Agency Reference(s):

                Subject(s):

                Victim(s):

                Discipline(s):          TEDAC DNA
                This document may contain personally identifiable information and must be afforded the
                protections required by applicable law, regulation, and policy. If you are not the intended
                recipient of this document, please destroy it promptly without further retention or
                dissemination, unless otherwise required by law.
                FBI Laboratory Evidence Designator(s):

                Item 18               Two DNA samples from JEREMY MICHAEL BROWN (1B64)
                The item listed above was subjected to nuclear deoxyribonucleic acid (DNA) analysis.1

                RESULTS OF NUCLEAR DNA EXAMINATIONS:

                The DNA typing results from BROWN were compared to the DNA typing results from items 1-
                1(1) and 2-1(1) [previously reported under FBI Laboratory Number 2021-02111-4 in the report
                dated October 25, 2021].

                Item 1-1(1) (Cutting of tape from grenade pin)

                        No conclusion regarding sex typing results can be provided for item 1-1(1). Item 1-1(1)
                was interpreted as originating from two individuals.

                             BROWN is excluded as a potential contributor to item 1-1(1).22




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                Item 2-1(1) (Cutting of tape from grenade body)

                       Male DNA33was obtained from item 2-1(1). Item 2-1(1) was interpreted as originating
                from two individuals.

                          BROWN is excluded as a potential contributor to item 2-1(1).2

                Database Entry Information:

                      The DNA results obtained from the tested item are not eligible for entry into the
                Combined DNA Index System (CODIS).

                          No other nuclear DNA examinations were conducted.

                Methods/Limitations:

                The following methods and limitations apply to the results/conclusions provided in the results
                section(s) of this report and are referenced by number in the body of the text for clarity.
                1
                 DNA analysis was performed using the Quantifiler™ Trio DNA Quantification Kit for the
                quantitation of human DNA and the GlobalFiler™ PCR Amplification Kit for the DNA typing of
                short tandem repeats (STRs).
                2
                  A person of interest is excluded either visually or when the likelihood ratio is less than or equal
                to 1/100. An exclusion means that the person of interest was not detected in the DNA results.
                3
                  The presence of male DNA in a mixture may limit the ability to determine if female DNA is
                also present in that mixture.

                REMARKS:

                        The work described in this report was conducted at the Huntsville Laboratory, and the
                results will be maintained by the FBI Laboratory for possible future comparisons. This report
                contains the opinions and interpretations of the issuing examiner and is supported by records
                retained in the FBI Laboratory file. This report conforms to the Department of Justice Uniform
                Language for Testimony and Reports for Forensic Autosomal DNA Examinations Using
                Probabilistic Genotyping Systems. For questions about the content of this report, please contact
                Forensic Examiner Krystal A. Breslin at (256) 678-2393 or kbreslin@fbi.gov.

                       The submitted item will be returned to you under separate cover. In addition to the
                evidence in the case, secondary evidence was generated that will also be returned to you. The
                secondary evidence can be found in a package marked DNA Secondary Evidence.




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                        Please allow a minimum of thirty days from the date of a discovery request for the FBI
                Laboratory to provide the related materials. The FBI cannot ensure timely delivery of discovery
                requests received in less time.




                                                            Krystal A. Breslin
                                                            Scientific and Biometrics Analysis Unit




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